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                IN THE UNITED STATES DISTRICT COURT
                    EASTERN DISTRICT OF ARKANSAS
                         WESTERN DIVISION

UNITED STATES OF AMERICA                                               PLAINTIFF

VS.                             NO. 4:16CR00049-6 KGB

WILLIAM EUGENE JACKSON                                              DEFENDANT

                                     ORDER

      Pending before the Court is a motion for issuance of a summons and

revocation of pretrial release (d.e. #135). For good cause shown, the motion for

issuance of a summons in GRANTED. The Clerk is directed to issue a summons

to Defendant William Eugene Jackson for appearance at a hearing before United

States Magistrate Judge J. Thomas Ray on May 13, 2016, at 1:30 p.m. to show

cause why his pretrial release should not be revoked.

      IT IS SO ORDERED this 10th day of May, 2016.




                                      UNITED STATES MAGISTRATE JUDGE
